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                                   2                                  UNITED STATES DISTRICT COURT

                                   3                                 NORTHERN DISTRICT OF CALIFORNIA

                                   4                                          SAN JOSE DIVISION

                                   5
                                           CHRISTOPHER BOOK,
                                   6                                                       Case No. 5:16-cv-07408-EJD
                                                        Plaintiff,
                                   7                                                       ORDER GRANTING PLAINTIFF’S
                                                 v.                                        MOTIONS TO REMAND AND
                                   8                                                       DENYING DEFENDANTS’ MOTIONS
                                           PRONAI THERAPEUTICS, INC., et al.,              TO STAY
                                   9
                                                        Defendants.                        Re: Dkt. Nos. 15, 18
                                  10

                                  11       TIMOTHY GALLAS,                                 Case No. 5:17-cv-01740-EJD

                                  12                    Plaintiff,                         Re: Dkt. Nos. 20, 25
Northern District of California
 United States District Court




                                  13             v.

                                  14       PRONAI THERAPEUTICS, INC., et al.,
                                           Defendants.
                                  15

                                  16

                                  17            In these two related actions, Plaintiffs Christopher Book and Timothy Gallas bring

                                  18   securities claims against Defendant ProNAi Therapeutics, Inc. and its officers, its directors, and

                                  19   the underwriters of its initial public offering (“IPO”). Defendants removed these actions from state

                                  20   court in California. Plaintiffs move to remand.1 Defendants move to stay until the U.S. Supreme

                                  21   Court decides whether to resolve questions about how to interpret jurisdictional provisions of the

                                  22   1933 Securities Act. Plaintiffs’ motions to remand will be GRANTED and Defendants’ motions to

                                  23   stay will be DENIED.

                                  24

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                                        Since the parties agree that the Gallas and Book actions are “substantively identical” (Dkt. No.
                                  26   36 at 2), this order resolves the pending motions in both cases. Docket citations refer to the Book
                                       action (16-cv-7408).
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                                  28   Case Nos.: 5:16-cv-07408-EJD and 5:17-cv-01740-EJD
                                       ORDER GRANTING PLAINTIFFS’ MOTIONS TO REMAND AND DENYING
                                       DEFENDANTS’ MOTIONS TO STAY
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                                   1     I.      BACKGROUND
                                   2             Plaintiffs filed these securities class actions in California Superior Court. They allege
                                   3   violations of §§ 11 and 15 of the federal Securities Act of 1933 arising from their purchase of
                                   4   shares during ProNAi’s IPO in 2015. Defendants removed to this Court.
                                   5    II.      LEGAL STANDARD
                                   6             A case may be removed to federal court if it (1) raises a federal question or (2) is between
                                   7   citizens of different states and the amount in controversy exceeds $75,000. 28 U.S.C. §§ 1441,
                                   8   1332. Defendants have the burden of showing that removal was proper. Gaus v. Miles, Inc., 980
                                   9   F.2d 564, 566 (9th Cir. 1992). Courts must strictly construe the removal statute against removal.
                                  10   Ethridge v. Harbor House Rest., 861 F.2d 1389, 1393 (9th Cir. 1988). Cases should be remanded
                                  11   if there is any doubt about the existence of federal jurisdiction. Gaus, 980 F.2d at 566.
                                  12   III.      DISCUSSION
Northern District of California
 United States District Court




                                  13            A.    Motion to Remand
                                  14             Removal to a federal court is allowed “[e]xcept as otherwise expressly provided by Act of
                                  15   Congress.” 28 U.S.C. § 1441(a). Here, Plaintiffs argue that removal is barred under § 77v(a) of the
                                  16   Securities Act, which states that the
                                  17                    district courts of the United States and the United States courts of
                                                        any Territory shall have jurisdiction of offenses and violations under
                                  18                    [the 1933 Act] . . . and, concurrent with State and Territorial courts,
                                                        except as provided in section 77p of this title with respect to covered
                                  19                    class actions, of all suits in equity and actions at law brought to
                                                        enforce any liability or duty created by [the 1933 Act]. . . . Except as
                                  20                    provided in section 77p(c) of this title, no case arising under [the
                                                        1933 Act] and brought in any State court of competent jurisdiction
                                  21                    shall be removed to any court of the United States.
                                  22   15 U.S.C. § 77v(a); Pls.’ Mot. to Remand (“Mot.”) 3, Dkt. No. 18. Because the “sole claims in this
                                  23   case are for violations of the Securities Act,” Plaintiffs argue, “Section 77v(a) bars removal.”
                                  24   Mot. 5.
                                  25             Defendants respond that removal is proper because § 77v(a) should be interpreted to mean
                                  26   that federal courts have exclusive jurisdiction to hear “covered class actions” that raise claims
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                                   1   under the 1933 Securities Act. Notice of Removal 4–8, Dkt. No. 1.

                                   2          This Court addressed this very question of statutory interpretation in Young v. Pac.

                                   3   Biosciences of Cal., Inc., Nos. 5:11-cv-05668-EJD, 5:11-cv-05669-EJD, 2012 WL 851509 (N.D.

                                   4   Cal. Mar. 13, 2012). This Court held that class actions that allege claims only under the 1993 Act

                                   5   cannot be removed from state court. Id. at *4. Most courts in this district have adopted the same

                                   6   interpretation. See, e.g., Rivera v. Fitbit, Inc., No. 16-CV-02890-SI, 2016 WL 4013504, at *2

                                   7   (N.D. Cal. July 27, 2016) (“nearly every court within this district that has addressed this issue

                                   8   since 2012 has remanded this type of case back to state court, ruling that the Securities Act

                                   9   explicitly bars removal of securities class actions asserting only federal claims”); Rajasekaran v.

                                  10   CytRx Corp., No. CV 14-3406-GHK PJWX, 2014 WL 4330787, at *2 (C.D. Cal. Aug. 21, 2014)

                                  11   (“The Securities Act of 1933 contains an express removal bar that falls within the exception to

                                  12   § 1441(a).”); Mot. 2 n.3 (collecting a dozen cases from this district that have reached the same
Northern District of California
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                                  13   conclusion).

                                  14          Defendants point out that some courts read the statute differently. See, e.g., Hung v.

                                  15   iDreamSky Tech. Ltd., No. 15-CV-2514 (JPO), 2016 WL 299034, at *4 (S.D.N.Y. Jan. 25, 2016)

                                  16   (“[T]he Court adopts Defendants’ interpretation of § 77v(a), and New York state courts lack

                                  17   jurisdiction over this covered class action. Because the New York court is not a court of competent

                                  18   jurisdiction under § 77v(a), the bar on removal does not apply, and the case is removable.”); Lapin

                                  19   v. Facebook, Inc., No. C-12-3195 MMC, 2012 WL 3647409, at *2 (N.D. Cal. Aug. 23, 2012)

                                  20   (“federal courts alone have jurisdiction to hear covered class actions raising 1933 Act claims”

                                  21   (quoting Knox v. Agria Corp., 613 F.Supp. 419, 425 (S.D.N.Y. 2009))). Defendants “respectfully

                                  22   disagree with the Court’s decision in [Young] and with the other decisions granting remand of

                                  23   Securities Act class actions.” Defs.’ Opp’n to Pls.’ Mot. to Remand 2, Dkt. No. 25.

                                  24          This Court finds no compelling reason to depart from its reading of § 77v(a) in Young.

                                  25   Accordingly, Book’s and Gallas’s claims will be remanded.

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                                  28   Case Nos.: 5:16-cv-07408-EJD and 5:17-cv-01740-EJD
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                                   1           B.     Motion to Stay
                                   2           The U.S. Supreme Court is considering two petitions for writs of certiorari addressing
                                   3   whether state courts have concurrent jurisdiction over class actions under the 1933 Securities Act.
                                   4   Petition for Writ of Certiorari, Cyan, Inc. v. Beaver Cty. Emps. Ret. Fund (No. 15-1439), 2016
                                   5   WL 3040512 (filed May 24, 2016); Petition for Writ of Certiorari, FireEye, Inc. v. Sup. Ct. of Cal.
                                   6   (No. 16-744), 2016 WL 7174592 (filed Dec. 5, 2016). Because a Supreme Court decision might
                                   7   resolve the issue of whether Book and Gallas’s actions are removable, Defendants argue that these
                                   8   cases should be stayed until the Supreme Court decides whether to grant the petitions. Dkt. No.
                                   9   15. However, as discussed above, this Court interprets § 77v(a) to mean that the Book and Gallas
                                  10   actions are not removable. As such, this Court lacks jurisdiction to adjudicate Plaintiffs’ claims,
                                  11   and Defendants’ motions to stay must be denied.
                                  12   IV.     CONCLUSION
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 United States District Court




                                  13           Plaintiffs’ motions to remand (Book Dkt. No. 18, Gallas Dkt. No. 20) are GRANTED.
                                  14   Defendants’ motions to stay (Book Dkt. No. 15, Gallas Dkt. No. 25) are DENIED. The Clerk shall
                                  15   close this file.
                                  16

                                  17           IT IS SO ORDERED.
                                  18   Dated: June 12, 2017
                                  19                                                    ______________________________________
                                                                                        EDWARD J. DAVILA
                                  20                                                    United States District Judge
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                                  28   Case Nos.: 5:16-cv-07408-EJD and 5:17-cv-01740-EJD
                                       ORDER GRANTING PLAINTIFFS’ MOTIONS TO REMAND AND DENYING
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